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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________

ALBTELECOM SH.A,                                   Civil No. 16-9001

                               Petitioner,


                V.                                 NOTICE OF PETITION TO
                                                   CONFIRM FOREIGN
                                                   ARBITRATION AWARD AND
                                                   ENTER JUDGMENT
UNIFI COMMUNICATIONS, INC,

                              Respondent.

____________________________________


TO UNIFI COMMUNICATIONS, INC:



       PLEASE TAKE NOTICE that, pursuant to the Convention on the Recognition

and Enforcement of Foreign Arbitral Awards (the “New York Convention”) and 9 U.S.C.

§§ 201 et seq., Petitioner Albtelecom SH.A. (“Albtelecom”), has filed in the above-

captioned action a Petition To Confirm Foreign Arbitration Award and Enter Judgment

(“Petition”). By its Petition, Albtelecom seeks:
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        1        An Order confirming the September 2, 2015 final Consent Award issued

by the ICC International Court of Arbitration.

        2.      An Order entering Judgment against the Respondent UNIFI in the amount

of $1,805,693.21.

        3.      Interest of 2.5% per annum from December 15, 2015 on $1,805,693.21.

        4.      Additional interest to be accrued as of the entry of Judgment until such

time as it is paid.

        5.      The cost of these proceedings and reasonable attorney’s fees incurred by

Petitioner Albtelecom in these proceedings.

        6.      Any and all such other just and equitable remedies which the Court deems

appropriate.

        Albtelecom’s Petition is based on (i) this Notice, (ii) the Petition, (iii) the

Declaration of Christopher Bollen and exhibits thereto, and (iv) arguments on

Albtelecom’s behalf at oral argument, if any.


Dated: November 18, 2016

                                        MAVRONICOLAS PC

                                By:     /s/ Anthony J. Mavronicolas
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